                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                       CIVIL ACTION NO. 5:21-CV-00172-KDB-SCR
 Belvin Sherrill                                    )
 Aurelia Sherrill,
                                                    )
                  Plaintiffs,                       )
                                                    )
     v.                                             )                 ORDER
                                                    )
 Aziyo Biologics, Inc., et al.                      )
                                                    )
                  Defendants.                       )
                                                    )

          THIS MATTER is before the Court on Plaintiffs’ Motion for Partial Summary Judgment

on the Single Issue of Causation (Doc. No. 110), which Defendant Aziyo Biologics, Inc. does not

oppose (Doc. No. 126). As the motion is not opposed, and Defendant Aziyo Biologics, Inc.

stipulates that Plaintiff Aurelia Sherrill contracted tuberculosis as a result of her April 6, 2021,

spinal fusion surgery utilizing FiberCel, the Court will GRANT the motion as related to Aziyo

Biologics, Inc., and enter partial Summary Judgment in favor of Plaintiffs as requested.

          NOW THEREFORE IT IS ORDERED THAT:

          Plaintiffs’ “Motion for Partial Summary Judgment” on the single issue of causation (Doc.

No. 110) is GRANTED as to Defendant Aziyo Biologics, Inc.


          SO ORDERED ADJUDGED AND DECREED.
                       Signed: September 30, 2024




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